
Considering the Petition for Transfer to Active Status filed by respondent, the supplements thereto, and the response filed by the Office of Disciplinary Counsel,
IT IS ORDERED that David J. Motter, Louisiana Bar Roll number 21366, be and he hereby is reinstated to active status pursuant to Supreme Court Rule XIX, § 22(G), subject to the condition that he must fully and completely adhere to all terms of his April 17, 2018 diagnostic monitoring agreement with the Judges and Lawyers Assistance Program, and such other conditions as may be imposed upon him by the Judges and Lawyers Assistance Program. The Office of Disciplinary Counsel shall monitor respondent's compliance with his diagnostic monitoring agreement and notify this court of any violation, which may be grounds for immediately returning respondent to disability inactive status.
This order shall be effective immediately.
